                   Case 3:92-cr-03008-LC                  Document 803      Filed 04/30/08        Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                        Jose Luis Ortiz                           ) Case No: 3:92cr3008-09/LAC
                                                                  ) USM N o: 02814-017
Date of Previous Jud gment:       8 September 1992                )
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 360        months is reduced to 262 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:      40               Amended Offense Level:                                    38
Criminal History Category:   II               Criminal History Category:                                 II
Previous Guideline Range:  324  to 405 months Amended Guideline Range:                                262       to 327 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
: The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated 8 September 1992            shall remain in effect.
IT IS SO ORDERED.

Order Date:         30 April 2008                                                       s /L.A. Collier
                                                                                          Judge’s signature


Effective Date:                                                           Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                    Printed name and title
